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                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

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            14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                  [PROPOSED] ORDER GRANTING
                                                                   PLAINTIFFS’ APPLICATION FOR ENTRY
            16                                                     OF DEFAULT
                                     Plaintiffs,
            17                                                     Hon. Jacqueline S. Corley
                           v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

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                                                                                       [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                 APPLICATION FOR ENTRY OF DEFAULT
 SAN FRA NCI S CO                                                                       CASE NO. 3:19-CV-07123-JSC
                         Case 4:19-cv-07123-PJH Document 20-21 Filed 02/27/20 Page 2 of 2



              1             Before the Court is Plaintiffs WhatsApp Inc. and Facebook, Inc.’s Application for Entry of

              2      Default. The Court finds that Defendants NSO Group Technologies Ltd. and Q Cyber Technologies

              3      Ltd. were properly served on December 17, 2019 in accordance with Federal Rule of Civil

              4      Procedure 4(f)(1) and the applicable provisions of the Hague Convention of 15 November 1965 on

              5      the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters.

              6             The deadline for Defendants to respond to the Complaint was 21 days after the date of

              7      service, or January 7, 2020. See Fed. R. Civ. P. 12(a)(1)(A)(i). Defendants did not appear, file an

              8      answer, or otherwise respond to the Complaint or contest this action as required. Defendants are

              9      therefore in default.

            10              Accordingly, Plaintiffs’ Application for Entry of Default is GRANTED. The Clerk shall

            11       enter default against Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.

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            13       IT IS SO ORDERED.
            14       Dated: _________________
            15                                                      Honorable Jacqueline S. Corley
                                                                    United States Magistrate Judge
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                                                                                              [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                                    2                 APPLICATION FOR ENTRY OF DEFAULT
 SAN FRA NCI S CO                                                                              CASE NO. 3:19-CV-07123-JSC
